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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE
                                                              )
In re:                                                        ) Chapter 11
                                                              )
CENTER CITY HEALTHCARE, LLC d/b/a                             )
HAHNEMANN UNIVERSITY HOSPITAL, et al.,1                       ) Case No. 19-11466 (MFW)
                                                              )
                                  Debtors.                    ) Jointly Administered
                                                              )

       NOTICE OF AGENDA FOR TELEPHONIC AND VIDEO HEARING SCHEDULED
      FOR DECEMBER 14, 2020 AT 11:30 A.M. (PREVAILING EASTERN TIME) BEFORE
        THE HONORABLE MARY F. WALRATH, U.S. BANKRUPTCY COURT JUDGE


       THIS HEARING WILL BE CONDUCTED VIA BOTH ZOOM AND COURTCALL.

  Any party that wants to participate in the Hearing must make arrangements to do so
  through CourtCall by telephone (866-582-6878) or facsimile (866-533-2946). If you are
  planning to speak, please also use Zoom. Zoom connection details are as follows:
                                Topic: Center City Healthcare 19-11466
                      Time: Dec 14, 2020 11:30 AM Eastern Time (US and Canada)

                                         Join ZoomGov Meeting
                             https://debuscourts.zoomgov.com/j/1601760371

                               Meeting ID: 160 176 0371; Passcode: 402532

  All parties must still dial in to CourtCall at 1-866-582-6878

  PLEASE NOTE: AUDIO MUST BE MUTED IN ZOOM ONCE CONNECTED
  COURTCALL, LLC WILL PROVIDE THE AUDIO FOR THE HEARING




  1
           The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
           number, are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
           Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of
           PA, L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care
           Center, L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast
           Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C.
           (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is
           216 North Broad Street, 4th Floor, Philadelphia, Pennsylvania 19102.


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RESOLVED MATTERS:

1.       Motion of Debtors for Order (I) Authorizing Supplemental Retention and Employment of
         Centurion Service Group, LLC, as Auctioneer, (II) Waiving Compliance with Certain
         Requirements of Local Rule 2016-2; and (III) Approving Sale and Liquidation of
         Additional Medical Equipment [Docket No. 1810; filed: 10/02/20]

         Response Deadline: November 10, 2020 at 4:00 p.m.

         Responses Received: None

         Related Documents:

         A.        Notice of Hearing [Docket No. 1831; filed: 10/20/20]

         B.        Certification of No Objection [Docket No. 1884; filed: 11/11/20]

         C.        Order (I) Authorizing Supplemental Retention and Employment of Centurion
                   Service Group, LLC, as Auctioneer, (II) Waiving Compliance with Certain
                   Requirements of Local Rule 2016-2; and (III) Approving Sale and Liquidation of
                   Additional Medical Equipment [Docket No. 1885; signed and docketed: 11/12/20]

         Status: On November 12, 2020, the Court entered an order approving this motion.

2.       Fourth Motion of the Debtors for Entry of an Order Further Extending the Debtors’
         Exclusivity Periods to File a Chapter 11 Plan and Solicit Votes Thereon [Docket No.
         1839; filed: 10/21/20]

         Response Deadline: November 4, 2020 at 4:00 p.m.

         Responses Received: Informal comments from the Office of the United States Trustee

         Related Documents:

         A.        Certification of Counsel Regarding (A) Revised Proposed Order Pursuant to
                   11 U.S.C. § 1121 Further Extending the Debtors’ Exclusive Periods to File a
                   Chapter 11 Plan and Solicit Votes Thereon, and (B) No Objection to Same
                   [Docket No. 1874; filed: 11/05/20]

         B.        Order Pursuant to 11 U.S.C. § 1121 Further Extending the Debtors’ Exclusive
                   Periods to File a Chapter 11 Plan and Solicit Votes Thereon [Docket No. 1876;
                   signed and docketed: 11/06/20]

         Status: On November 12, 2020, the Court entered an order approving this motion.

3.       Motion of the Debtors for Entry of an Order Authorizing the Debtors to File Under Seal
         the Unredacted Version of the Debtors' First Omnibus Objection to Claims (Non-
         Substantive) Pursuant to Sections 502(b) and 503 of the Bankruptcy Code, Bankruptcy
         Rules 3001, 3003, and 3007, and Local Rule 3007-1 [Docket No. 1872; filed: 11/05/20]

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         Response Deadline: November 19, 2020 at 4:00 p.m.

         Responses Received: None

         Related Documents:

         A.        Certification of No Objection [Docket No. 1919; filed: 11/20/20]

         B.        Order Authorizing the Debtors to File Under Seal the Unredacted Version of the
                   Debtors' First Omnibus Objection to Claims (Non-Substantive) Pursuant to
                   Sections 502(b) and 503 of the Bankruptcy Code, Bankruptcy Rules 3001, 3003,
                   and 3007, and Local Rule 3007-1 [Docket No. 1922; signed and docketed:
                   11/23/20)

         Status: On November 23, 2020, the Court entered an order approving this motion.

4.       Fourth Motion of the Debtors for Entry of an Order Extending the Time Period Within
         Which the Debtors May Remove Actions [Docket No. 1877; filed: 11/06/20]

         Response Deadline: November 20, 2020 at 4:00 p.m.

         Responses Received: None

         Related Documents:

         A.        Certification of No Objection [Docket No. 1925; filed: 11/23/20]

         B.        Order Further Extending the Time Period Within Which the Debtors May
                   Remove Actions [Docket No. 1928; signed and docked: 11/24/20]

         Status: On November 24, 2020, the Court entered an order approving this motion.

CONTINUED MATTER:

5.       [FILED UNDER SEAL] Debtors' First Omnibus Objection to Claims (Non-Substantive)
         Pursuant to Sections 502(b) and 503 of the Bankruptcy Code, Bankruptcy Rules 3001,
         3003, and 3007, and Local Rule 3007-1 [Docket No. 1871; filed: 11/05/20]

         Response Deadline: November 19, 2020 at 4:00 p.m.

         Responses Received:

         A.        Informal response from Premier Healthcare Solutions, Inc.

         B.        Informal response from Andrea Moore

         C.        Informal response from Kelly Coleman

         D.        Informal response from Candese Combs

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         E.        Informal response from a former patient

         F.        Response of McKesson Corporation and Its Affiliates [D.I. 1908; filed: 11/19/20]

         G.        Response of Carol C. Kerr [Docket No. 1927; filed: 11/23/20]

         Related Documents:

         A.        [REDACTED] Debtors' First Omnibus Objection to Claims (Non-Substantive)
                   Pursuant to Sections 502(b) and 503 of the Bankruptcy Code, Bankruptcy Rules
                   3001, 3003, and 3007, and Local Rule 3007-1 [Docket No. 1873; filed: 11/05/20]

         B.        [FILED UNDER SEAL] Certification of Counsel Submitting Order Sustaining
                   Debtors’ First Omnibus Objection to Claims (Non-Substantive) Pursuant to
                   Section 502(b) of the Bankruptcy Code, Bankruptcy Rules 3001, 3003, and
                   3007, and Local Rule 3007-1 [Docket No. 1930; filed: 11/24/20]

         C.        [REDACTED] Certification of Counsel Submitting Order Sustaining Debtors’
                   First Omnibus Objection to Claims (Non-Substantive) Pursuant to Section
                   502(b) of the Bankruptcy Code, Bankruptcy Rules 3001, 3003, and 3007, and
                   Local Rule 3007-1 [Docket No. 1931; filed: 11/24/20]

         D.        [FILED UNDER SEAL] Order Sustaining Debtors’ First Omnibus Objection
                   to Claims (Non-Substantive) Pursuant to Section 502(b) of the Bankruptcy
                   Code, Bankruptcy Rules 3001, 3003, and 3007, and Local Rule 3007-1
                   [Docket No. 1941; signed and docketed: 12/01/20]

         E.        [REDACTED] Order Sustaining Debtors’ First Omnibus Objection to Claims
                   (Non-Substantive) Pursuant to Section 502(b) of the Bankruptcy Code,
                   Bankruptcy Rules 3001, 3003, and 3007, and Local Rule 3007-1 [Docket No.
                   1942; signed and docketed: 12/01/20]

         Status: On December 1, 2020, the Court entered an order sustaining the omnibus claim
                 objection as to all claims other than the claims of McKesson Corporation and Its
                 Affiliates (“McKesson”). The claims filed by McKesson are the only open
                 matters and are continued to a date to be determined.

FEE APPLICATIONS:

6.       Certification of Counsel Regarding Proposed Omnibus Order Approving Third Interim
         Fee Applications of Certain of the Debtors’ and Official Committee of Unsecured
         Creditors’ Professionals and the First Interim Application of Klehr Harrison Harvey
         Branzburg LLP [Docket No. TBD]

         Response Deadline:      See index of the fee applications attached as Exhibit A.

         Responses Received: None

         Related Documents: None
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         Status:        This matter is going forward.

Dated: December 10, 2020                           SAUL EWING ARNSTEIN & LEHR LLP

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